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                   EXHIBIT A
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 PLOT TWIST



 Trump’s Case Against Man
 Deported in “Error” Just Took
 Another Big Hit
 Trumpworld claims Kilmar Abrego Garcia was in MS-13. But new information concerning
 the local cop who attested to that charge at the time raises fresh questions about it.




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 Greg Sargent /
 April 15, 2025

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     As Trump administration officials seek to defend their refusal to return Kilmar
     Abrego Garcia to the United States after deporting him in “error,” one of the
     government’s chief justifications has been that he was a member of the MS-13 gang.
     One Trump official after another has lodged the charge, though Abrego Garcia denies
     this and the evidence for it is conspicuously thin.




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     This notion—that Abrego Garcia posed a major public safety threat inside the U.S.—
     has become Trumpworld’s primary excuse for denying him basic due process and
     leaving him in a maximum security prison in El Salvador known for human rights
     abuses. This includes apparently defying the Supreme Court’s recent order to
     “facilitate” his return: On Monday, when a reporter asked Trump if he’ll follow this
     directive, Trump snarled: “Why don’t you just say, ‘Isn’t it wonderful that we’re
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     But the administration’s case that Abrego Garcia is a gang member and violent
     criminal is running into more trouble.


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     The Maryland police officer who formally attested to Abrego Garcia’s supposed gang
     affiliation in 2019—when he was detained the first time—was subsequently
     suspended from the force for a serious transgression: giving confidential information
     about a case to a sex worker, The New Republic has established.

     This officer—apparently a senior detective on Abrego Garcia’s case in 2019—is named
     Ivan Mendez, according to information provided by Abrego Garcia’s lawyer at the
     time, Lucia Curiel, who is also a member of his current legal team. Mendez was
     subsequently indicted for this offense, pleaded guilty, and received probation.

     By itself, of course, this does not settle whether Abrego Garcia was ever in MS-13. But
     it buttresses the argument that the process designating him a gang member was
     shoddy and riddled with flaws from the outset. Abrego Garcia and his lawyers have
     argued that both local law enforcement and the Trump administration rushed to pin
     this gang affiliation on him based on evidence that was thin to nonexistent, and the
     suspension of this officer for such a serious offense makes that case more plausible.

     These new details also help illuminate some of the lingering unknowns about this
     whole saga.

     Abrego Garcia—a Salvadoran who came to the United States illegally in 2011, at the
     age of 16—was initially detained in Prince George’s County, Maryland, a suburb of
     Washington, D.C., in March 2019. County police asked him whether he was a gang
     member, which he denied.

     Abrego Garcia was not charged with a crime, and on the basis of his undocumented
     status was transferred to Immigration and Customs Enforcement, which moved to
     deport him. Abrego Garcia sought asylum, and during those proceedings, ICE
     claimed Abrego Garcia was a member of MS-13.

     To support this claim, ICE relied on what’s known as a Gang Field Interview Sheet,
     supplied by the Prince George’s County police. It claimed that Abrego Garcia wore a
     Chicago Bulls hat and hoodie, that this was evidence of membership in MS-13, and
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     that a “confidential source” had related that he was a member of the gang’s Westerns
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     clique.   But
       marketing     that operates in New York, where he never lived.
                 efforts.


     In the 2019 proceedings, an immigration judge ultimately granted Abrego Garcia
     “withholding of removal,” which barred his transfer to El Salvador on grounds that
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     he’d face harm there. This is the status the Trump administration knowingly ignored
     by deporting him to that country in March, which the Supreme Court has now
     declared “illegal.” (The administration claims it has no obligation to return him, a
     case that falls apart under scrutiny.)

     Abrego Garcia’s lawyers recounted some of that 2019 story in current court filings, but
     in them, they also added some details that raise additional questions. They claimed
     that at the time, his lawyer, Curiel, sought more information from the P.G. County
     police but was informed that the lead detective on his case had been “suspended.”
     The current filings don’t name the officer, and they don’t say why he was suspended.

     But we can fill in the facts around some of these cryptic details.

     Ivan Mendez was the officer who filled out this gang interview sheet, according to a
     copy of the sheet itself, which we obtained from Curiel. And Curiel tells us that
     repeated conversations with the P.G. County police inspector general confirmed that
     Mendez was a lead detective on Abrego Garcia’s case.

     What’s more, it turns out that Mendez was suspended, in early April 2019, for
     “providing information to a commercial sex worker who he was paying in exchange
     for sexual acts.” That’s according to the P.G. County police’s own announcement of
     his indictment, which came a year later, in June 2020. Strikingly, the information
     Mendez shared was related to “an on-going police investigation.”

     “This is clearly not an officer that respects the rules and protocols,” Curiel told us. “If
     he’s willing to do that, what else is he willing to do?”

     Mendez ultimately pleaded guilty to the charge and received probation, according to
     the office of Aisha Braveboy, the state’s attorney for Prince George’s County. The
     office also confirmed Mendez’s police ID number, which matches the one on the gang
     sheet. The P.G. County police declined comment, but the department appears to have
     acted on this misconduct efficaciously.

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     Garcia  has been deemed a gang member, even as Trump and his minions have been
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     extraordinarily cavalier in throwing around the MS-13 smear.



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     Vice President JD Vance, for instance, has asserted that Abrego Garcia was a
     “convicted MS-13 gang member.” The basis for that is that during the 2019 litigation,
     Abrego Garcia was denied bail at an early stage. But as Roger Parloff details, this is a
     very weak evidentiary basis. Abrego Garcia was not even charged with, let alone
     convicted of, any crime related to gang membership, or any crime at all.

     White House press secretary Karoline Leavitt, meanwhile, has insisted that there’s a
     “lot of evidence” of Abrego Garcia’s MS-13 membership, and has even claimed he was
     involved in human trafficking. Top Trump adviser Stephen Miller and Homeland
     Security Secretary Kristi Noem have also loudly echoed these charges.

     But not only is the existing evidence of this criminality exceedingly thin; we’ve now
     learned that the officer who attested to it was suspended very soon after for serious
     professional misconduct, suggesting the whole process may have been even more
     dubious than previously known.

     Abrego Garcia appeared to be settling into his life in Maryland. He is married to a U.S.
     citizen and has three children, including one with autism, and he’d been working as a
     sheet metal worker and taking classes at the University of Maryland.

     But it bears stressing that even if real evidence of Abrego Garcia’s criminality were to
     emerge, his removal is still illegal, and he is still entitled to due process in the United
     States. If the administration wanted to deport him, it could have simply mounted
     another legal challenge to his “withholding of removal” status, or sought to deport
     him to a country other than El Salvador, which that status does not preclude. The
     administration still has the option of bringing him back and retrying him for removal
     through these conventional lawful channels.

     Why officials refuse to do this remains unanswered. And now that further doubt has
     been cast on the procedures by which Abrego Garcia was designated a gang member
     in the first place, the whole affair looks even more sordid and indefensible.


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     Greg Sargent is a staff writer at The New Republic and the host of the podcast The Daily Blast. A
     seasoned political commentator with over two decades of experience, he was a prominent columnist
     and blogger at The Washington Post from 2010 to 2023 and has worked at Talking Points Memo,
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     New York magazine, and the New York Observer. Greg is also the author of the critically acclaimed
     book An Uncivil War: Taking Back Our Democracy in an Age of Disinformation and Thunderdome
     Politics.




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